Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    1   Date
                                Document 18 Filed:
                                             Filed 08/24/2022
                                                   08/24/22 PageEntry
                                                                 1 of ID:
                                                                      37 6515797




             United States Court of Appeals
                           For the First Circuit


 No. 22-1056

                                  JOHN DOE,

                           Plaintiff, Appellant,

                                      v.

                 MASSACHUSETTS INSTITUTE OF TECHNOLOGY,

                            Defendant, Appellee.


             APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS

            [Hon. Richard G. Stearns, U.S. District Judge]


                                    Before

                        Thompson, Selya, and Gelpí,
                              Circuit Judges.


      Philip A. Byler, with whom Nesenoff & Miltenberg, LLP was on
 brief, for appellant.
      Joshua Adam Engel and Engel & Martin, LLC on brief for
 Education Law Attorneys, amici curiae.
      Justin Dillon, KaiserDillon PLLC, and Cynthia P. Garrett on
 brief for Families Advocating for Campus Equality, amicus curiae.
      Benjamin F. North and Binnall Law Group, PLLC on brief for
 Stop Abusive and Violent Environments, amicus curiae.
      Scott A. Roberts, with whom Mark Macchi and Hirsch Roberts
 Weinstein LLP were on brief, for appellee.
      Eugene Volokh and First Amendment Clinic, UCLA School of Law
 on brief for Prof. Eugene Volokh, amicus curiae.
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    2   Date
                                Document 18 Filed:
                                             Filed 08/24/2022
                                                   08/24/22 PageEntry
                                                                 2 of ID:
                                                                      37 6515797




                               August 24, 2022
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    3   Date
                                Document 18 Filed:
                                             Filed 08/24/2022
                                                   08/24/22 PageEntry
                                                                 3 of ID:
                                                                      37 6515797



             SELYA, Circuit Judge.             A writer is free to assume a nom

 de plume.     That is why Mark Twain and Bob Dylan are better known

 than    Samuel    Clemens   and    Robert       Zimmerman.      But,   as   a     rule,

 litigants in federal court must publicly reveal their true names.

 In this appeal, we tackle a question of first impression in this

 circuit:    when is it appropriate for a party to a civil suit in

 federal court to appear under a pseudonym? This important question

 pits the individual's desire for privacy against the public's need

 to access judicial proceedings.           After determining the appropriate

 standard for adjudicating motions for leave to proceed under

 pseudonyms,       we   vacate     the   district      court's    denial      of    the

 plaintiff's motion and remand to the district court for application

 of the discerned standard.

                                           I

             Drawing upon the complaint, we briefly rehearse the

 facts (largely undisputed for present purposes) and travel of the

 case.    In 2013 — during his first year of college at Massachusetts

 Institute    of    Technology     (MIT)     —    plaintiff-appellant        John    Doe

 formed a relationship with a classmate whom we shall call "Jane

 Roe."    This relationship included episodic sexual intercourse and

 lasted until the summer of 2014.                But even after the couple broke

 up, they occasionally had consensual sex during the fall 2014

 semester.




                                         - 3 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    4   Date
                                Document 18 Filed:
                                             Filed 08/24/2022
                                                   08/24/22 PageEntry
                                                                 4 of ID:
                                                                      37 6515797



             On the evening of February 26, 2015, Jane went to John's

 residence for help repairing her computer and agreed to spend the

 night in his bed.       The pair fell asleep.       At some point in the

 early morning hours on February 27, they had sexual intercourse.

 John says that he observed Jane "fully conscious, alert, and with

 wide open eyes" and that she provided a variety of nonverbal cues

 throughout the interaction, thus signaling her effective consent.

 Afterward, though, Jane asked John what had happened. John replied

 that sexual intercourse had taken place.         A few months later, Jane

 told John that "the sex they had when she was asleep was not okay."

             In January of 2016, Jane filed a formal complaint with

 MIT's Title IX office alleging nonconsensual sexual contact and

 intercourse occurring on February 27, 2015.          That office launched

 an investigation, which involved interviewing both John and Jane

 (as well as other students) and reviewing documents.           On their own

 initiative, the MIT investigators added a second charge against

 John for sexual harassment arising from conduct during the 2013-

 2014 school year (when John and Jane were still in a relationship).

 In a written report, the investigators found John responsible for

 both charges.    Following its receipt of the investigators' report,

 MIT designated a panel of three faculty members drawn from its

 Committee on Discipline (the Committee) to consider the matter.

             On April 25, 2016, the panel held a hearing. John denied

 responsibility, but two days later the chair of the Committee


                                     - 4 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    5   Date
                                Document 18 Filed:
                                             Filed 08/24/2022
                                                   08/24/22 PageEntry
                                                                 5 of ID:
                                                                      37 6515797



 informed John by letter that MIT had found him responsible for

 nonconsensual sexual contact and intercourse on February 27, 2015

 and sexual harassment during the earlier period.           The Committee's

 letter also informed John that he would be expelled.

             John appealed the Committee's findings and sanction.           He

 argued    that,   given    Jane's   nonverbal    signals   throughout    the

 encounter — which, he said, fit the pattern established in their

 history of consensual intimacy — he reasonably believed that Jane

 was awake and had effectively consented to sexual intercourse on

 February 27, 2015.        He also argued that expulsion was unwarranted

 because, although he maintained that he reasonably "thought [he]

 had effective consent" from Jane, he took "responsibility for

 making a terrible judgement call."          MIT denied the appeal a few

 weeks later and expelled         John just prior to his         anticipated

 graduation.

             On December 16, 2021, John — by then married and working

 as a software engineer in New Jersey — filed suit against MIT in

 the United States District Court for the District of Massachusetts.

 His suit invoked diversity jurisdiction under 28 U.S.C. § 1332.1

 The complaint alleged breach of contract, promissory estoppel, and

 denial of basic fairness.        Its gist was that MIT's investigation


       1John alleged that he was a citizen of New Jersey and that
 (for jurisdictional purposes) MIT was deemed to be a citizen of
 Massachusetts.    According to the complaint, the amount in
 controversy exceeded $75,000.


                                     - 5 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    6   Date
                                Document 18 Filed:
                                             Filed 08/24/2022
                                                   08/24/22 PageEntry
                                                                 6 of ID:
                                                                      37 6515797



 was infected by "[r]adical feminist anti-male bias" to the point

 of presuming "that the female complainant's story was . . . true"

 and that John's story was false.            John sought monetary damages,

 including damages for reputational harm, "past and future economic

 losses, loss of educational opportunities, and loss of future

 career prospects."

             On the same day that he filed his suit, John filed an ex

 parte motion to proceed by pseudonym because "requiring him to

 reveal his identity would result in significant harm to [him],

 including the exact damages he seeks to remedy in this matter."

 Five days later, the district court denied the motion in a minute

 order.   John moved for reconsideration.        On the very next day, the

 district court denied the motion but stayed the case to facilitate

 John's anticipated appeal of the denial of his motion to proceed

 by pseudonym.     This timely appeal followed.

                                      II

             As a threshold matter, we first address our appellate

 jurisdiction.     Ordinarily — insofar as court cases are concerned

 — our jurisdiction is limited to "appeals from all final decisions

 of the district courts of the United States" in this circuit.              28

 U.S.C. § 1291.     Giving the phrase "final decisions" a "practical

 rather than a technical construction," the Supreme Court has

 permitted immediate appellate review of a "small class" of orders

 "which finally determine claims of right separable from, and


                                     - 6 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    7   Date
                                Document 18 Filed:
                                             Filed 08/24/2022
                                                   08/24/22 PageEntry
                                                                 7 of ID:
                                                                      37 6515797



 collateral to, rights asserted in the action." Cohen v. Beneficial

 Indus. Loan Corp., 337 U.S. 541, 546 (1949).                 Such collateral

 orders are "too important to be denied review and too independent

 of the cause itself to require that appellate consideration be

 deferred until the whole case is adjudicated."              Id.

             The   collateral    order      doctrine    applies    when   three

 conditions are satisfied:       the order must "conclusively determine

 the   disputed    question";   it   must    "resolve   an    important   issue

 completely separate from the merits of the action"; and it must

 "be effectively unreviewable on appeal from a final judgment."

 Will v. Hallock, 546 U.S. 345, 349 (2006) (quoting P.R. Aqueduct

 & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 144 (1993)).

 Two salient principles gloss these requirements.              For one thing,

 an issue is "important" in the relevant sense if it is "weightier

 than the societal interests advanced by the ordinary operation of

 final judgment principles." Gill v. Gulfstream Park Racing Assoc.,

 Inc., 399 F.3d 391, 399 (1st Cir. 2005) (quoting Digital Equip.

 Corp. v. Desktop Direct, Inc., 511 U.S. 863, 879 (1994)).                 For

 another thing — with respect to the third condition — "the decisive

 consideration is whether delaying review until the entry of final

 judgment 'would imperil a substantial public interest' or 'some

 particular value of a high order.'"              Mohawk Indus., Inc. v.

 Carpenter, 558 U.S. 100, 107 (2009) (quoting Will, 546 U.S. at




                                     - 7 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    8   Date
                                Document 18 Filed:
                                             Filed 08/24/2022
                                                   08/24/22 PageEntry
                                                                 8 of ID:
                                                                      37 6515797



 352-53).    The focus of the inquiry is not on the facts of the case

 but, rather, on "the class of claims, taken as a whole."             Id.

             Every one of the nine courts of appeals to consider the

 question has held that an order denying a motion to proceed by

 pseudonym is immediately appealable under the collateral order

 doctrine.    See Doe v. Coll. of N.J., 997 F.3d 489, 494 (3d Cir.

 2021); United States v. Pilcher, 950 F.3d 39, 41 (2d Cir. 2020)

 (per curiam); In re Sealed Case, 931 F.3d 92, 95-96 (D.C. Cir.

 2019); Doe v. Vill. of Deerfield, 819 F.3d 372, 375-76 (7th Cir.

 2016); Plaintiff B v. Francis, 631 F.3d 1310, 1314-15 (11th Cir.

 2011); Raiser v. Brigham Young Univ., 127 F. App'x 409, 410 (10th

 Cir. 2005); Does I thru XXIII v. Advanced Textile Corp., 214 F.3d

 1058, 1066-67 (9th Cir. 2000); James v. Jacobson, 6 F.3d 233, 236-

 38 (4th Cir. 1993); Doe v. Stegall, 653 F.2d 180, 183 (5th Cir.

 1981).    Although we have not yet passed upon the question, we have

 held, in an analogous context, that "[u]nsealing orders usually

 warrant immediate review under the collateral order doctrine."

 Siedle v. Putnam Invs., Inc., 147 F.3d 7, 9 (1st Cir. 1998) (citing

 FTC v. Standard Fin. Mgmt. Corp., 830 F.2d 404, 407 (1st Cir.

 1987)).

             Today, we join the consensus of our sister circuits and

 hold that orders denying motions to proceed by pseudonym are

 immediately appealable under the collateral order doctrine.             Such

 orders conclusively determine the pseudonym question, and that


                                     - 8 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    9   Date
                                Document 18 Filed:
                                             Filed 08/24/2022
                                                   08/24/22 PageEntry
                                                                 9 of ID:
                                                                      37 6515797



 question is quite separate from the merits.            Additionally, such an

 order    typically    resolves    an   issue   of   considerable   importance

 because litigants wishing to file under fictitious names often

 allege that disclosure of their identities would inflict grievous

 harm upon them.      And this concern is hardly a private matter:          the

 public has a substantial interest in ensuring that those who would

 seek justice in its courts are not scared off by the specter of

 destructive exposure.       Cf. Doe v. Megless, 654 F.3d 404, 410 (3d

 Cir. 2011) (listing, as factor favoring use of pseudonym, whether

 "other    similarly    situated    litigants    [will]    be   deterred   from

 litigating claims that the public would like to have litigated");

 Advanced Textile, 214 F.3d at 1073 ("[P]ermitting plaintiffs to

 use pseudonyms will serve the public's interest in this lawsuit by

 enabling it to go forward.").

             That public interest, moreover, would be imperiled by

 deferring appellate review of a pseudonym denial until after the

 entry of final judgment, with the litigant compelled to proceed

 unmasked.    Once the litigant's true name is revealed on the public

 docket, the toothpaste is out of the tube and the media or other

 interested onlookers may take notice in a way that cannot be undone

 by an appellate decision down the road.             See Standard Fin. Mgmt.,

 830 F.2d at 407.       A party whose pseudonym motion is denied will

 find cold comfort in the prospect of reversal on appeal months or

 years after being forced into the glare of the legal spotlight.


                                        - 9 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    10
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   10 of ID:
                                                                         37 6515797



  Such belated redress will not dispel the "discernible chill,"

  Mohawk, 558 U.S. at 110, felt by those who fear litigating under

  their own names.     A district court's denial of a pseudonym motion,

  therefore, would be effectively unreviewable without the help of

  the collateral order doctrine.

              That ends this aspect of the matter.            We hold that an

  order denying a litigant's motion to proceed by pseudonym is

  immediately appealable under the collateral order doctrine.                 It

  follows, then, that we have jurisdiction to hear and determine

  this appeal.

                                       III

              We review a district court's denial of a motion to

  proceed by pseudonym for abuse of discretion.              See Does 1-3 v.

  Mills, 39 F.4th 20, 24 (1st Cir. 2022).               Abuse of discretion

  "occurs when a material factor deserving significant weight is

  ignored, when an improper factor is relied upon, or when all proper

  and no improper factors are assessed, but the court makes a serious

  mistake in weighing them."        Indep. Oil & Chem. Workers of Quincy,

  Inc. v. Procter & Gamble Mfg. Co., 864 F.2d 927, 929 (1st Cir.

  1988).   And "it is never within a trial court's discretion to make

  a determination that is premised on an incorrect legal standard."

  United States v. Castro, 129 F.3d 226, 229 (1st Cir. 1997); see

  Fox v. Vice, 563 U.S. 826, 839 (2011).




                                     - 10 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    11
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   11 of ID:
                                                                         37 6515797



                                            A

               We recently held that there is a "strong presumption

  against the use of pseudonyms in civil litigation."               Does 1-3, 39

  F.4th at 25. We acknowledged, though, that other courts of appeals

  "have     found   that   the   use   of   pseudonyms   may   be   warranted   in

  'exceptional cases.'"          Id. (quoting Megless, 654 F.3d at 408).

  Because the pseudonym issue in Does 1-3 arose in the context of an

  emergency application for a stay, we declined to "formulate[] a

  test for assessing when parties may proceed under pseudonyms."

  Id.       The case at hand squarely presents the question that we

  avoided in Does 1-3, and we take up the mantle not only with the

  assistance of briefing and oral argument from the parties but also

  with the insight of several amici (for whose help we are grateful).

                                            1

               We begin by clarifying the source of the presumption

  against the use of pseudonyms in federal civil litigation.2                   The

  courts of appeals have endorsed this presumption without fully

  explicating its legal foundation.              We think it important to fill

  this gap.

               To begin, the presumption has no footing in the United

  States Code.      No federal statute prohibits litigants from filing


        2This opinion addresses only the use of pseudonyms in federal
  civil litigation. It does not purport to address the possible use
  of pseudonyms in criminal cases, which may present a different mix
  of considerations.


                                        - 11 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    12
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   12 of ID:
                                                                         37 6515797



  civil actions under fictitious names.           By the same token, such a

  presumption     is    not     perfectly      traceable    to      any    federal

  constitutional provision or rule.

              Withal, the Civil Rules do offer some comfort for this

  presumption.      They provide that "[t]he title of the complaint must

  name all the parties," Fed. R. Civ. P. 10(a), and that "[a]n action

  must be prosecuted in the name of the real party in interest," id.

  17(a)(1).     These provisions afford a toehold for the presumption

  against the use of pseudonyms (as we observed in Does 1-3, 39 F.4th

  at 25).   But it is less than obvious that a party's "name" in this

  context means his true name, to the exclusion of a pseudonym.                  Cf.

  Roe v. Borup, 500 F. Supp. 127, 129 (E.D. Wis. 1980) (rejecting

  "highly mechanical interpretation of the Federal Rules of Civil

  Procedure" that would preclude using pseudonym).               And if the Civil

  Rules should be read to mandate that a complaint state the parties'

  true names, it would be odd that courts have converted this command

  into a rebuttable presumption.        Cf. United States v. Tsarnaev, 142

  S. Ct. 1024, 1036 (2022) (explaining that "supervisory rules" made

  by federal courts cannot "conflict with or circumvent a Federal

  Rule"   (citing    Carlisle    v.   United    States,    517    U.S.    416,   426

  (1996))).

              More to the point is the right of public access to

  judicial proceedings and documents.            The courts of appeals have

  recognized a qualified First Amendment right of public access to


                                      - 12 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    13
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   13 of ID:
                                                                         37 6515797



  certain documents filed in civil litigation.           See Courthouse News

  Serv. v. Quinlan, 32 F.4th 15, 20 n.8 (1st Cir. 2022) (collecting

  cases).     So, too, the Supreme Court has recognized "a common-law

  right of access to judicial records," with the caveat that such a

  right "is not absolute."       Nixon v. Warner Commc'ns, Inc., 435 U.S.

  589, 597-98 (1978); see Nat'l Org. for Marriage v. McKee, 649 F.3d

  34, 70 (1st Cir. 2011); In re Providence J. Co., 293 F.3d 1, 9-10

  (1st Cir. 2002).      But we have never held that the right of public

  access (whether derived from the First Amendment or from the common

  law) forbids the use of a pseudonym in civil litigation.

              It is true, of course, that in Does 1-3 we noted the

  "tension" between that common law right and the use of pseudonyms.

  39 F.4th at 25.       However, that opinion cannot fairly be read as

  formally grounding the presumption against pseudonymous litigation

  in the common law right of public access to judicial documents.

  Instead, the right of public access to judicial documents is of a

  piece with, but does not directly produce, the judicial stance

  against litigants' use of pseudonyms.              See Doe v. Kamehameha

  Schs./Bernice Pauahi Bishop Est. (Kamehameha Schs. I), 596 F.3d

  1036,   1042   (9th    Cir.   2010)   (describing     presumption     against

  pseudonymity as "loosely related to the public's right to open

  courts").

              In our view, federal courts enforce the presumption

  against party pseudonyms in civil litigation under their inherent


                                     - 13 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    14
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   14 of ID:
                                                                         37 6515797



  power to "formulate procedural rules not specifically required by

  the Constitution or the Congress."                Carlisle, 517 U.S. at 426

  (quoting United States v. Hasting, 461 U.S. 499, 505 (1983)). This

  inherent    power    applies    foursquare      to   the    presumption    against

  pseudonymity, which is a "polic[y] intrinsic to the litigation

  process."      Thomas v. Arn, 474 U.S. 140, 147 n.5 (1985) (citation

  omitted).     Courts have distilled such a presumption from a brew of

  custom and principle, including the values underlying the right of

  public access to judicial proceedings and documents under the

  common law and First Amendment.                See Stegall, 653 F.2d at 185

  (describing presumption against pseudonyms as "a procedural custom

  fraught with constitutional overtones"); In re Sealed Case, 971

  F.3d   324,    326   (D.C.     Cir.    2020)    (discussing      "deeply      rooted

  tradition"     against   party        pseudonymity);       see   also   Amy    Coney

  Barrett, Procedural Common Law, 94 Va. L. Rev. 813, 823 n.23 (2008)

  ("[J]udges fashion much federal common law, including procedural

  common law, by drawing from norms generally accepted by the legal

  community.").

                                            2

                Judicial hostility to a party's use of a pseudonym

  springs from our Nation's tradition of doing justice out in the

  open, neither "in a corner nor in any covert manner."                      Richmond

  Newspapers, Inc. v. Virginia, 448 U.S. 555, 567 (1980) (plurality

  opinion) (quoting 1677 Concessions and Agreements of West New


                                         - 14 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    15
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   15 of ID:
                                                                         37 6515797



  Jersey, reprinted in Sources of Our Liberties 188 (Richard L. Perry

  ed. 1959)).     In defending that tradition, we have explained that

  "[p]ublic access to judicial records and documents allows the

  citizenry to 'monitor the functioning of our courts, thereby

  insuring quality, honesty and respect for our legal system.'"

  Standard Fin. Mgmt., 830 F.2d at 410 (quoting In re Cont'l Ill.

  Secs. Litig., 732 F.2d 1302, 1308 (7th Cir. 1984)).               "Identifying

  the   parties   to   the   proceeding    is   an   important   dimension    of

  publicness."     Doe v. Blue Cross & Blue Shield United of Wis., 112

  F.3d 869, 872 (7th Cir. 1997).           That is because — to a certain

  degree — letting a party hide behind a pseudonym dims the public's

  perception of the matter and frustrates its oversight of judicial

  performance.

              Lacking knowledge of the parties' names, the public

  could learn virtually nothing about a case outside the facts and

  arguments in the record.       The record, though, is not the alpha and

  omega of public concern.       To take one example of important extra-

  record data, the real-world aftermath of a suit will sometimes

  bear upon the assessment of whether justice was done.                 Another

  example is the kind of institutional rot that is scrubbed from the

  record:    judicial conflicts of interest, ex parte contacts, and

  the   like.      Anonymizing     the    parties    lowers   the    odds   that

  journalists, activists, or other interested members of the public

  would catch wind of such mischief.            See Globe Newspaper Co. v.


                                     - 15 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    16
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   16 of ID:
                                                                         37 6515797



  Pokaski, 868 F.2d 497, 503-04 (1st Cir. 1989) (acknowledging "the

  contribution to governance of investigative reporting" regarding

  such matters).

              An     even   thornier    issue    involves     protecting     the

  appearance    of   fairness   in   judicial   proceedings.       "Litigating

  behind a curtain creates a shroud of mystery, giving the impression

  that something secret is going on."           In re Boeing 737 MAX Pilots

  Litig., No. 19-5008, 2020 WL 247404, at *2 (N.D. Ill. Jan. 16,

  2020).   Secrecy breeds suspicion.       Some may believe that a party's

  name was masked as a means of suppressing inconvenient facts and

  that the court was either asleep at the wheel or complicit in the

  cover up.     It is no answer to dismiss such beliefs as conspiracy

  theories because "justice must satisfy the appearance of justice."

  Offutt v. United States, 348 U.S. 11, 14 (1954).          Distrust is toxic

  to the judiciary's authority, which "depends in large measure on

  the public's willingness to respect and follow its decisions."

  Williams-Yulee v. Fla. Bar, 575 U.S. 433, 445-46 (2015).                     A

  judicial system replete with Does and Roes invites cynicism and

  undermines public confidence in the courts' work.

              The short of it is that the strong presumption against

  the use of pseudonyms in civil litigation rests on a sturdy

  foundation.      With this assurance in hand, we proceed to address

  the standard for determining when a party may litigate under a

  pseudonym.


                                       - 16 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    17
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   17 of ID:
                                                                         37 6515797



                                              IV

              In    deciding      when    the      use     of    a     pseudonym   in   civil

  litigation may be warranted, several of our sister circuits have

  devised elaborate multi-factor tests.                    These various tests pit the

  movant's quest for anonymity against an array of countervailing

  interests.       See Sealed Plaintiff v. Sealed Defendant, 537 F.3d

  185, 189 (2d Cir. 2008) (collecting cases).                          The Second Circuit,

  for example, has held that "the plaintiff's interest in anonymity

  must be balanced against both the public interest in disclosure

  and any prejudice to the defendant."                   Id.

              Many of these suggested tests involve non-exhaustive

  lists of up to ten factors.             See In re Sealed Case, 931 F.3d at 97

  (citing    cases).        "Some     factors        are     'specific       aspects     of   a

  plaintiff's potential privacy interests' or the weight to be given

  those    interests,      but    others      'go     more      to     the   weight   of   the

  countervailing         interest    in   open       judicial        proceedings.'"        Id.

  (quoting Doe v. Del Rio, 241 F.R.D. 154, 158 (S.D.N.Y. 2006)).

              Regrettably, these multi-factor tests do not establish

  a clear standard.           See, e.g., Doe v. Kamehameha Schs./Bernice

  Pauahi Bishop Est. (Kamehameha Schs. II), 625 F.3d 1182, 1191 (9th

  Cir. 2010) (Reinhardt, J., dissenting from the denial of rehearing

  en banc) (observing that "[f]ive part or seven part or other multi-

  part    tests    are    often     subject     to    subjective         and   inconsistent

  application"      and,    in    some     instances,           make    "appellate      review


                                           - 17 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    18
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   18 of ID:
                                                                         37 6515797



  extremely difficult, and precedent of little value"); Doe v. Pa.

  Dep't of Corr., No. 19-1584, 2019 WL 5683437, at *2 & n.10 (M.D.

  Pa. Nov. 1, 2019) (noting judicial opinions involving this subject

  matter "frequently read as a rote recitation of factors with a

  conclusion tacked on the end").           That amorphous quality hampers

  their utility.      One distinguished academic — who appears as an

  amicus here — has commented that "the factors are often so vague

  or ambiguous that, by themselves, they provide relatively little

  guidance."    Eugene Volokh, The Law of Pseudonymous Litigation, 73

  Hastings L.J. 1353, 1426 (2022).         Professor Volokh's amicus brief

  invites us to eschew a multi-factor balancing test in favor of

  identifying     "narrow     categorical     limitations      or   exceptions

  . . ., tailored to unusual categories of cases that sufficiently

  distinguish themselves from the norm." In support, he notes (among

  other things) that the Civil Rules already provide a categorical

  exception with respect to minors.            See Fed. R. Civ. P. 5.2(a)

  ("Unless the court orders otherwise, in an electronic or paper

  filing with the court that contains . . . the name of an individual

  known to be a minor, . . . a party or nonparty making the filing

  may include only . . . the minor's initials.").

              We decline to accept this invitation to try our hand at

  crafting sharp, categorical exceptions to the strong presumption

  against pseudonymity in civil litigation.           Because the problem is

  complex and the cases are not all cut from the same cloth, some


                                     - 18 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    19
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   19 of ID:
                                                                         37 6515797



  effort to balance a gallimaufry of relevant factors is inevitable.

  But assembling a       compendium of relevant          factors is a    tricky

  enterprise and — in our judgment — the appropriate test must center

  on the totality of the circumstances.           See In re Chiquita Brands

  Int'l Inc., 965 F.3d 1238, 1247 n.5 (11th Cir. 2020); see also In

  re Sealed Case, 931 F.3d at 97 (explaining that precise list of

  factors matters less than whether court took proper account of

  "the factors relevant to the case before it" that "inform the

  ultimate balancing of the public and private interests at stake").

  Because we see little upside in endorsing one multi-factor test or

  another, and still less in inventing a new one, we think it

  unnecessary to festoon the easily understood "totality of the

  circumstances" standard with any multi-factor trappings.               In the

  last analysis, district courts enjoy broad discretion to identify

  the   relevant    circumstances     in   each   case    and   to   strike   the

  appropriate balance between the public and private interests.

              Even so, our skepticism about the wisdom of hard-and-

  fast rules in this domain does not blind us to the need for greater

  clarity and predictability with respect to pseudonym decisions.

  Thus, we appreciate that some general guidelines may be helpful to

  the district courts.

              For a start, we are committed to the proposition that

  courts — in balancing the relevant interests — must not lose sight

  of the big picture.      Litigation by pseudonym should occur only in


                                     - 19 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    20
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   20 of ID:
                                                                         37 6515797



  "exceptional cases."         Megless, 654 F.3d at 408; see Doe v. Frank,

  951 F.2d 320, 324 (11th Cir. 1992) (per curiam); Stegall, 653 F.2d

  at 185.    Lawsuits in federal courts frequently invade customary

  notions of privacy and — in the bargain — threaten parties'

  reputations.      The allegations are often serious (at least to the

  parties) and motivated adversaries do not lack for procedural

  weapons. Facing the court of public opinion under these conditions

  is sometimes stressful — but that is the nature of adversarial

  litigation.      If commonplace lawsuit-induced distress were enough

  to justify the use of a pseudonym, anonymity would be the order of

  the day:      Does and Roes would predominate.               We think it follows

  that a well-calibrated inquiry needs some workable methodology for

  sorting out the (relatively few) "exceptional cases" in which

  pseudonymity should be allowed.

                In another area of procedural common law — the doctrines

  of abstention — the Supreme Court has given form to a broad

  "exceptional circumstances" standard by delineating a few "general

  categories" of cases that fill the bill.                       Colo. River Water

  Conserv. Dist. v. United States, 424 U.S. 800, 813-18 (1976); see

  Barrett,      Procedural     Common   Law,    supra,    at    824-26     (describing

  abstention doctrines as "procedural common law").                     Taking our cue

  from   this    model,   we    think   it     useful    to    sketch    four   general

  categories      of   exceptional      cases     in     which     party    anonymity

  ordinarily will be warranted.


                                        - 20 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    21
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   21 of ID:
                                                                         37 6515797




                 •   The first paradigm involves a would-be Doe who

                     reasonably fears that coming out of the shadows

                     will    cause       him    unusually     severe        harm    (either

                     physical or psychological).                   See, e.g., Doe v.

                     Ayers, 789 F.3d 944, 945 (9th Cir. 2015) (allowing

                     use    of     pseudonym      premised     upon    evidence        that

                     disclosure of plaintiff-inmate's history of being

                     sexually abused "would create a significant risk of

                     severe      harm    at     the   hands   of     other    inmates");

                     Advanced Textile, 214 F.3d at 1071 (allowing use of

                     pseudonym           for      plaintiffs          who      "fear[ed]

                     extraordinary        retaliation,        such    as    deportation,

                     arrest, and imprisonment"); Lauren B. v. Baxter

                     Int'l Inc. & Subsidiaries Welfare Benefit Plan for

                     Active Emps., 298 F.R.D. 571, 573 (N.D. Ill. 2014)

                     (allowing anonymity when public disclosure would

                     threaten      plaintiff's        recovery     from     longstanding

                     eating disorder); see generally Sealed Plaintiff,

                     537    F.3d    at    190    (listing,     as     factor       favoring

                     anonymity, "whether identification poses a risk of

                     retaliatory         physical     or    mental     harm"       (quoting

                     James, 6 F.3d at 238)).

                 •   The    second       paradigm      involves      cases     in     which

                     identifying the would-be Doe would harm "innocent


                                          - 21 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    22
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   22 of ID:
                                                                         37 6515797



                     non-parties."        Id. (quoting James, 6 F.3d at 238);

                     see Doe v. Trs. of Dartmouth Coll., No. 18-040,

                     2018    WL   2048385,      at   *6    (D.N.H.    May   2,      2018)

                     (explaining that nonparty "has a stronger case for

                     anonymity" than party); see also Doe v. Eason, No.

                     98-2454, 1999 WL 33942103, at *3 (N.D. Tex. Aug. 4,

                     1999)    (granting pseudonym status to parents in

                     litigation involving their minor child).

                 •   The     third     paradigm      involves      cases    in      which

                     anonymity is necessary to              forestall a chilling

                     effect on future litigants who may be similarly

                     situated.           See    Megless,     654     F.3d      at     410

                     (emphasizing        need   to    ascertain      whether      "other

                     similarly situated litigants [will] be deterred

                     from litigating claims that the public would like

                     to have litigated").            Because "courts provide the

                     mechanism for the peaceful resolution of disputes

                     that might otherwise give rise to attempts at self-

                     help,"    they      must   be   wary   of    "deter[ring]        the

                     legitimate exercise of the right to seek a peaceful

                     redress      of   grievances     through     judicial       means."

                     Talamini v. Allstate Ins. Co., 470 U.S. 1067, 1070-

                     71    (1985)      (Stevens,     J.,   concurring);     see      BE&K

                     Constr. Co. v. NLRB, 536 U.S. 516, 532 (2002).                     A


                                         - 22 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    23
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   23 of ID:
                                                                         37 6515797



                     deterrence     concern     typically      arises       in     cases

                     involving     "intimate        issues     such     as         sexual

                     activities, reproductive rights, bodily autonomy,

                     medical     concerns,     or   the      identity       of    abused

                     minors."    In re Sealed Case, 971 F.3d at 327.                 Also

                     typical are cases in which a potential party may be

                     implicated in "illegal conduct, thereby risking

                     criminal prosecution," Stegall, 653 F.2d at 185,

                     and those in which "the injury litigated against

                     would be incurred as a result of the disclosure of

                     the [party's] identity," Frank, 951 F.2d at 324.

                 •   The fourth paradigm involves suits that are bound

                     up with a prior proceeding made confidential by

                     law.   This concern manifests itself when denying

                     anonymity    in   the    new   suit     would    significantly

                     undermine      the       interests       served        by       that

                     confidentiality.        See, e.g., R.F.M. v. Nielsen, 365

                     F. Supp. 3d 350, 371 (S.D.N.Y. 2019) (granting

                     pseudonymity to non-minor plaintiffs challenging

                     immigration       authorities'        denial      of        "special

                     immigrant juvenile" status due to family court

                     adjudications, in part because "related records

                     from the New York Family Courts are protected by

                     law"); Doe v. Bates, 18-1250, 2018 WL 4539034, at


                                       - 23 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    24
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   24 of ID:
                                                                         37 6515797



                    *1 (S.D. Ill. Sept. 21, 2018) (granting pseudonym

                    status to plaintiff bringing excessive force claim

                    arising from juvenile detention because "revealing

                    his   identity     would,    in   effect,    unravel     the

                    protections afforded to his juvenile record").

  These paradigms are rough cuts, and it is possible that a party

  whose case for pseudonymity appears weak when each paradigm is

  analyzed separately may nonetheless make a persuasive showing when

  multiple paradigms are implicated.            Cf. Pennzoil Co. v. Texaco,

  Inc., 481 U.S. 1, 11 n.9 (1987) ("The various types of abstention

  are not rigid pigeonholes into which federal courts must try to

  fit cases.").     There may also be rare cases in which — although

  they fall within one or more of these paradigms — either the need

  for openness or the prospect of serious prejudice to other parties

  from a grant of pseudonymity overwhelms the movant's privacy

  concerns.

              We add a coda.     Civil actions come in a wide variety of

  shapes and sizes, and we are not so sanguine as to believe that

  these four paradigms capture the entire universe of cases in which

  pseudonymity may be appropriate.         We are confident, however, that

  the paradigms capture the vast majority of affected cases and, as

  such, we deem them useful tools for inquiring courts.




                                     - 24 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    25
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   25 of ID:
                                                                         37 6515797



                                          V

              We take stock.      A district court adjudicating a motion

  to proceed under a pseudonym should balance the interests asserted

  by the movant in favor of privacy against the public interest in

  transparency, taking all relevant circumstances into account.               In

  most cases, the inquiry should focus upon the extent to which the

  facts align with one or more of the following paradigms:              whether

  the case is one in which the movant reasonably fears that coming

  out of the shadows will cause him unusually severe physical or

  mental harm; whether the case is one in which compelled disclosure

  of the movant's name will likely lead to disclosure of a nonparty's

  identity, causing the latter substantial harm; whether the case is

  one in which      compelled disclosure would         likely deter, to an

  unacceptable      degree,    similarly      situated     individuals      from

  litigating; or whether the federal suit is bound up with a prior

  proceeding    subject   by   law   to   confidentiality    protections     and

  forcing disclosure of the party's identity would significantly

  impinge upon the interests served by keeping the prior proceeding

  confidential.    Because these paradigms are framed in generalities,

  a court enjoys broad discretion to quantify the need for anonymity

  in the case before it.          This broad discretion extends to the




                                     - 25 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    26
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   26 of ID:
                                                                         37 6515797



  court's ultimate determination as to whether that need outweighs

  the public's transparency interest.3

              The   party    seeking    pseudonymity     bears      the   burden   of

  rebutting the strong presumption against it.               In most cases, the

  district court should require a declaration or affidavit either by

  the moving party or by someone with special knowledge who can speak

  to the need for anonymity in that case.               See, e.g., Ayers, 789

  F.3d at 945 (relying on opinion of person familiar with prison

  system); Doe v. Trs. of Indiana Univ., No. 12-1593, 2013 WL

  3353944, at *3 (S.D. Ind. July 3, 2013) (relying on affidavit from

  plaintiff's psychiatrist).

              District      courts   must   be     mindful   that    "the   balance

  between a party's need for anonymity and the interests weighing in

  favor of open judicial proceedings may change as the litigation

  progresses."      Advanced Textile, 214 F.3d at 1069.              Consequently,

  an order granting pseudonymity should be periodically reevaluated

  if and when circumstances change.          See, e.g., Lawson v. Rubin, No.

  17-6404,   2019    WL   5291205,     at   *2-3    (E.D.N.Y.    Oct.     18,   2019)

  (explaining why pseudonymity was appropriate in pretrial stages of


        3For the sake of completeness, we note that pseudonymity will
  never be justified when the public disclosure that the party seeks
  to forestall is already a fact. See, e.g., Kansky v. Coca-Cola
  Bottling Co. of New England, 492 F.3d 54, 56 n.1 (1st Cir. 2007)
  (denying motion to proceed by pseudonym when "district court
  opinion has already been made publicly available (apparently
  without objection), and all filings with this court have used the
  appellant's real name").


                                       - 26 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    27
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   27 of ID:
                                                                         37 6515797



  sexual assault litigation but not during trial); cf. Advanced

  Textile, 214 F.3d at 1068 (referring to arguments that "use of

  pseudonyms would prejudice the jury" and impair opposing party's

  ability to impeach witnesses (citing James, 6 F.3d at 240-41)).

                                        VI

              Having established the proper framework for evaluating

  a party's motion to proceed by pseudonym, we turn to the decision

  below.

                                        A

              In the absence of controlling precedent from this court,

  the district court borrowed a test under which "a plaintiff must

  show both (1) a fear of severe harm, and (2) that the fear of

  severe harm is reasonable."         Kamehameha Schs. I, 596 F.3d at 1043

  (emphasis in original); see Megless, 654 F.3d at 408.               Using that

  yardstick, the court denied John's request because it found his

  alleged harm to be "speculative conjecture."               Even allowing John

  to proceed pseudonymously for now, the court added, would not

  "cure" his fears of "future reputational harm" because "the full

  facts of the case will emerge if the litigation proceeds to trial."

              Assuming for argument's sake that the district court's

  appraisal    of   John's    claim    of    severe   harm     as   "speculative

  conjecture" is supportable — a matter on which we take no view —

  that appraisal alone cannot carry the weight of the district

  court's denial of pseudonym status.          The district court apparently


                                      - 27 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    28
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   28 of ID:
                                                                         37 6515797



  thought that a party can never proceed by pseudonym without

  establishing a reasonable fear that he will suffer severe harm.

  But    as   our    earlier     discussion        makes   clear,   that   showing    is

  necessary only under the first paradigm; the other paradigms

  involve somewhat different considerations.

                Nor is this a mere exercise in pedagogy.                John argued in

  the district court that disclosing his name could incidentally

  expose Jane's identity, and he asked that her identity also be

  protected.        Because Jane is not a party to this case, this argument

  tracks the second paradigm of exceptional cases that we have

  identified.

                John also made arguments sounding in the third paradigm

  of    exceptional      cases      —    a   paradigm   under   which    anonymity    is

  necessary to avoid deterring similarly situated litigants.                     Among

  other things, he stressed "the highly sensitive nature and privacy

  issues      that    could    be       involved    with   being    identified   as   a

  perpetrator of sexual assault" and predicted that "any ultimate

  success in this matter would be negated by the disclosure of his

  name."

                The district court applied a standard different than

  that which we enunciate today by treating the perceived lack of

  severe harm to John himself as the final word.                    A reasonable fear

  of severe harm is not "a sine qua non for allowing plaintiffs to




                                             - 28 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    29
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   29 of ID:
                                                                         37 6515797



  seek   Doe   status."           Kamehameha          Schs.    II,   625     F.3d      at    1192

  (Reinhardt, J., dissenting from the denial of rehearing en banc).

               The district court's additional reason for denying the

  motion — that John's identity would perforce be revealed if the

  case goes to trial — was also misplaced.                       First, there is no per

  se rule barring the use of pseudonyms at trial.                                    See Doe v.

  Neverson, 820 F. App'x 984, 987 (11th Cir. 2020) (per curiam)

  (holding that district court abused its discretion by denying

  anonymity     on        assumption          that     disclosure       at           trial    was

  "inevitable").         Second, the case may never go to trial.                       And even

  if the case does go to trial and John is compelled to self-identify

  then, that fact alone does not explain why he should not remain

  anonymous at earlier stages of the litigation.                        See id. at 987 &

  n.1.

                                                  B

               One other matter demands our attention.                     John has argued

  that    pseudonymity           is        appropriate        because      the       underlying

  disciplinary proceeding, brought under Title IX of the Education

  Amendments        of   1972,        20    U.S.C.     §§ 1681-1688,        was       conducted

  confidentially, and he has since kept his participation in it on

  the downlow.           This argument implicates the fourth paradigm of

  exceptional cases.

               We    agree    that          the   confidentiality       of       a    Title    IX

  disciplinary proceeding may sometimes — but not always — furnish


                                              - 29 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    30
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   30 of ID:
                                                                         37 6515797



  grounds for finding an exceptional case warranting pseudonymity.

  Title IX proceedings are extensively regulated by federal law.

  The United States Department of Education (the Department) has

  crafted detailed regulations. See 34 C.F.R. pt. 106. In addition,

  Congress     has     imposed     procedural       requirements     on    specified

  university disciplinary proceedings relating to sexual assault and

  domestic violence, mandating that universities receiving federal

  funds adopt policies guaranteeing "a prompt, fair, and impartial

  investigation and resolution" and giving certain procedural rights

  to   both     "the      accuser     and     the      accused."          20   U.S.C.

  § 1092(f)(8)(B)(iv); see 34 C.F.R. § 668.46(k).                   In a nutshell,

  both Congress and the Executive Branch have given careful thought

  to the proper conduct of Title IX proceedings.

               Confidentiality is an important aspect of that vision.

  By enacting the Family Educational Rights and Privacy Act of 1974

  (FERPA), 88 Stat. 571, 20 U.S.C. § 1232g, Congress sought to

  prevent     educational      institutions     from    unilaterally      disclosing

  "sensitive information about students," Owasso Indep. Sch. Dist.

  No. I-011 v. Falvo, 534 U.S. 426, 428 (2002), subject to certain

  enumerated     exceptions.        Under    FERPA,     a   university     receiving

  federal funds generally may not disclose a student's "education

  records."          20   U.S.C.    § 1232g(a)(4)(A),         (b)(1).          Student

  disciplinary       records     typically      fall    under      this   protective

  carapace.     See United States v. Mia. Univ., 294 F.3d 797, 812 (6th


                                       - 30 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    31
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   31 of ID:
                                                                         37 6515797



  Cir. 2002).        So, too, the Department's regulations implementing

  Title IX require universities to "keep confidential the identity

  of any individual who has made a report or complaint of sex

  discrimination,       including . . . any       individual   who   has    been

  reported to be the perpetrator of sex discrimination," subject to

  a few exceptions (such as the FERPA exceptions).                   34 C.F.R.

  § 106.71.4

               MIT    rejoins   that    the      bubble   of   confidentiality

  surrounding Title IX disciplinary proceedings is not airtight.              It

  pointed out at oral argument that both Title IX and FERPA constrain

  only the educational institutions themselves; nothing in those

  statutes (or the regulations thereunder) constrains participants

  in the proceedings from speaking freely about their personal

  knowledge of either the investigation or the underlying events.

  See 20 U.S.C. § 1232g(b)(1); 34 C.F.R. § 106.71.              This argument

  misses the mark.

               To be sure, neither FERPA nor Title IX imposes a gag

  order on individual participants.             The schools, not the students

  or witnesses, are regulated.           That narrow regulatory focus may

  reflect either a desire to preserve the autonomy (and, perhaps,




        4The Department recently proposed moving this provision to
  34 C.F.R. § 106.44(j), without substantially altering it.    See
  Nondiscrimination on the Basis of Sex in Education Programs or
  Activities Receiving Federal Financial Assistance, 132 Fed. Reg.
  41390, 41453 (July 12, 2022).


                                       - 31 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    32
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   32 of ID:
                                                                         37 6515797



  First Amendment rights) of the persons involved in the proceedings

  or a belief that a student's privacy is most profoundly violated

  when the disclosure originates from the school rather than from a

  third party.     Either way, it would be a mistake to conclude that

  the confidentiality attending Title IX proceedings is unimportant

  simply because it is not absolute.          It is evident, we think, that

  federal law aims to keep such proceedings largely under wraps.

              Both at oral argument and in a post-argument letter, see

  Fed. R. App. P. 28(j), MIT contended that plaintiffs such as John

  automatically forfeit the confidentiality protections of both

  FERPA and Title IX by bringing suit.         Under the FERPA regulations,

  when a student "initiates legal action against" a school, the

  school "may disclose to the court, without a court order or

  subpoena, the student's education records that are relevant for

  the [school] to defend itself."         34 C.F.R. § 99.31(a)(9)(iii)(B);

  see id. § 106.71 (providing exception to Title IX confidentiality

  requirement "as may be permitted by the FERPA statute . . . or

  FERPA regulations").       Invoking this exception, MIT asserts that

  FERPA's protections "fall by the wayside as soon as the student

  sues the institution."

              It takes rose-colored glasses to read this regulation so

  expansively, and we reject such a reading.          The provision at issue

  is addressed to the plight of a school trying "to defend itself"

  against a student lawsuit with its hands tied by FERPA.                    The


                                     - 32 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    33
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   33 of ID:
                                                                         37 6515797



  regulation thus allows the school to submit "relevant" documents

  "to the court."        34 C.F.R. § 99.31(a)(9)(iii)(B).          That exception

  does       not   defenestrate    the   student's    privacy    interests   simply

  because he has sued the school.            Rather, the exception — which is

  absent from the FERPA statute itself — is grounded in "a theory of

  implied consent."          Family Education Rights and Privacy, 65 Fed.

  Reg. 41852, 41858 (July 6, 2000).                  When a student (or former

  student) files suit against a school and moves for pseudonymity,

  any implied consent is necessarily limited — especially when it is

  uncertain        whether   the   student   would    continue    prosecuting   the

  action if pseudonymity were denied.                And it is significant that

  the regulation permits disclosure solely "to the court," not to

  the world at large.         The privacy concerns animating FERPA continue

  to have force notwithstanding the litigation, but they become

  subject to the needs of the judicial process.5




         In its Rule 28(j) letter, MIT submits that "the exception
         5

  in 34 C.F.R. § 99.31(a)(9)(iii)(B) . . . permits the institution
  to disclose that student's relevant education records publicly to
  the court, as opposed to being required to file the same under
  seal." Because it is unnecessary for us to reach the issue, we
  take no view on whether this regulatory exception absolves a school
  from seeking to file FERPA-protected information under seal. Cf.
  MetLife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661,
  673-74 (D.C. Cir. 2017) (explaining, with respect to other statutes
  and regulations, that agency violated applicable confidentiality
  provisions by "unilaterally filing the information on the public
  record"). The relevant question for purposes of the pseudonymity
  motion is how the court, not MIT, should handle the otherwise-
  protected information on its docket.


                                         - 33 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    34
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   34 of ID:
                                                                         37 6515797



              Of course, FERPA and Title IX govern the conduct of

  schools — not judicial decisions concerning the extent of public

  access to information on the court's docket.             But courts cannot

  ignore the background confidentiality regime in assessing the

  circumstances relevant to a request for pseudonymity.                 We find

  persuasive the D.C. Circuit's reasoning in the analogous context

  of a motion to unseal documents that a federal agency would

  otherwise be prohibited from disclosing by statute.               That court

  explained that "[a]lthough [the statute] does not categorically

  protect the sealed information, it does represent a congressional

  judgment about the importance of maintaining the confidentiality

  of nonpublic information submitted to [the agency]," and therefore

  the statutory "confidentiality provision should weigh heavily in"

  the district court's balancing.         MetLife, Inc. v. Fin. Stability

  Oversight Council, 865 F.3d 661, 675 (D.C. Cir. 2017); see Doe Co.

  No. 1 v. CFPB, 195 F. Supp. 3d 9, 19-23 (D.D.C. 2016) (applying

  similar reasoning to pseudonym decision in different statutory

  context).    The same is true of information made confidential by

  FERPA and Title IX.

              In federal suits that amount to collateral attacks on

  Title IX proceedings, a full appreciation of the public's interest

  in transparency must factor in the choice by Congress and the

  Department     to   inhibit     a   school's     disclosure     of    private

  information, such as the name of an accused student.              After all,


                                      - 34 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    35
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   35 of ID:
                                                                         37 6515797



  "[i]t makes little sense to lift the veil of pseudonymity that —

  for good reason — would otherwise cover these proceedings simply

  because the university erred and left the accused with no redress

  other than a resort to federal litigation."                Doe v. Rector &

  Visitors of George Mason Univ., 179 F. Supp. 3d 583, 593 (E.D. Va.

  2016) (emphasis in original).        And destroying that confidentiality

  may throw a wrench into other Title IX proceedings.                    See id.

  (observing     that    compelling     disclosure     of    accused     student-

  plaintiff's identity "may discourage victims from reporting sexual

  misconduct in the first instance"); see also Nondiscrimination on

  the Basis of Sex in Education Programs or Activities Receiving

  Federal Financial Assistance, 132 Fed. Reg. 41390, 41453 (July 12,

  2022)   (setting      forth   Department's    "tentative    view"     that   any

  unauthorized      disclosure    of   Title    IX   proceedings   "may       chill

  reporting    of    sex    discrimination      or    participation      in    the

  [college's] efforts to address sex discrimination").                 The public

  has an abiding interest in ensuring that the values underpinning

  the confidentiality protections imposed by FERPA and Title IX are

  not subverted by collateral attacks in federal court.

                                         C

              The bottom line is that the district court's order cannot

  endure.     For the reasons indicated above, we must vacate the

  district court's order and remand for application of the standard

  that we announce today.        See In re Grand Jury Subpoena, 138 F.3d


                                       - 35 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    36
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   36 of ID:
                                                                         37 6515797



  442, 445-46 (1st Cir. 1998) (explaining that remand is ordinarily

  appropriate when district court had to "guess at the rule of

  decision" and "applied the wrong legal standard").             Exercising its

  informed discretion, paying due heed to the strong presumption

  against    pseudonymity,     considering    any    evidence    adduced,    and

  weighing the parties' arguments, the court should evaluate whether

  this case is exceptional in light of the four paradigms we have

  identified.      With respect to the fourth paradigm, the district

  court should consider any additional arguments by the parties as

  to whether the confidentiality requirements of FERPA and Title IX

  have weight with respect to John's particular situation.6              If the

  court determines that FERPA or Title IX continue to protect John's

  identity    as    a   respondent     in    the    underlying    disciplinary

  proceedings, it should then balance all the relevant circumstances

  to determine whether compelling John to reveal his name in this

  case would undermine the federal confidentiality protections to

  the point of outweighing the public's interest in transparency.

                                       VII

              There is one loose end.         As far as we can tell, John

  Doe's true identity is unknown to both this court and the district




        6We note that the Title IX confidentiality provision in 34
  C.F.R. § 106.71 came into effect only after the events giving rise
  to this case.    We take no view as to whether this regulation
  restricts disclosures about the disciplinary proceeding at issue
  here.


                                     - 36 -
Case: 22-1056   Document: 61 Page:
         Case 1:21-cv-12060-RGS    37
                                Document Date Filed:08/24/22
                                         18 Filed    08/24/2022
                                                              Page Entry
                                                                   37 of ID:
                                                                         37 6515797



  court.     This state of affairs is problematic because it renders a

  meaningful recusal check impossible.             See Coe v. Cnty. of Cook,

  162 F.3d 491, 498 (7th Cir. 1998); see also 28 U.S.C. § 455

  (setting     forth   bases    for   judicial      recusal,   some   of    them

  unwaivable).    What is more, if the adjudicating courts never learn

  the party's identity, giving the judgment preclusive effect in

  future litigation would be dicey.            It follows that courts tasked

  with resolving pseudonymity motions must be afforded the anonymous

  party's true name under seal.

              Courts in this circuit should insist upon these best

  practices when confronted with a motion to proceed by pseudonym.

  They may do so either formally (by adoption of a local rule or a

  publicly     available    operating     procedure)     or    informally    (by

  apprising counsel, on an ad hoc basis, of the need to submit the

  anonymous party's name, under seal, to the court).

                                       VIII

              We need go no further.       The order of the district court

  is vacated and the case is            remanded    for further proceedings

  consistent with this opinion.         Costs shall be taxed in favor of

  the plaintiff.



  Vacated and Remanded.




                                      - 37 -
